IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
EASTERN DIVISION

No. 4:02-CV-135-H (4) LY
PETER M. WENDT, ‘Ciy LD

Plaintiff,

DARLENE LEONARD, individual, ORDER

RALPH THOMAS, JR., individual,
JOHN DOES, individually,
SEATOW SERVICES OF CARTERET
COUNTY, INC., and

JARRETT BAY BOAT WORKS, INC.,

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Defendants.
This matter is before the court on defendants’ motions for
sanctions pursuant to Fed. R. Civ. P. 11. Plaintiff’s time for
response has lapsed and this matter is ripe for adjudication.
Plaintiff filed this pro se action on September 3, 2002
alleging that his constitutional rights were violated as a result
of enforcement actions taken against him for failure to pay various
taxes. Plaintiff sought relief under 42 U.S.C. §§1983, 1985, 1986.
In an order filed October 23, 2002, this court dismissed
plaintiff’s claims pursuant to the Tax Injunction Act, 28 U.S.C.
§1341, and on the grounds that plaintiff’s complaint failed to
state a claim for which relief may be granted. The court has held
this matter open to consider defendants’ motions for sanctions.

Defendants filed their motions for sanctions and attorney’s fees

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pursuant to Rule 11 following the court’s order.

The court has concluded that sanctions pursuant to Rule 11
would be improper in this case. Defendants’ motions for sanctions
were filed after this court’s adjudication on October 23, and
plaintiff was therefore denied the “safe harbor” period
contemplated by Rule 11(c) (1) (A).

However, the court finds that defendants’ motions and the
record in this case establish a basis for an award of reasonable
attorney’s fees pursuant to 42 U.S.C. §1988. This statute provides
that “[{i]n any action or proceeding to enforce a provision of
sections 1981, 198la, 1982, 1983, 1985, and 1986 of this title
the court, in its discretion, may allow the prevailing party, other
than the United States, a reasonable attorney’s fee as part of the
costs.” 42 U.S.C. §1988. It is clear in this case that defendants
were the prevailing party, in that this action was dismissed in its

entirety. Young v. Annarino, 123 F.Supp.2d 943, 944 (W.D.N.C.

2000). Thus, the court may shift attorney’s fees to plaintiff as
part of costs of this action if it finds “that the plaintiff's
action was frivolous, unreasonable, or without foundation, even

though not brought in subjective bad faith.” Christiansburg

Garment Co. v. EEOC, 434 U.S. 412, 421 (1978); see also DeBauche v.

Trani, 191 F.3d 499, 510 (4° Cir. 1999).
The court finds that this standard of frivolity and

unreasonableness is met in this case. Although plaintiff proceeded

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pro se in this action, the record reflects that he is no stranger
to litigation. Plaintiff has filed actions to avoid the payment of
taxes on several occasions in state court, always without avail.
He instituted this action only after having his state actions
rejected. A cursory investigation of plaintiff’s claims in this
case revealed that the injunctive relief he sought was clearly

barred by the Tax Injunction Act, supra. See Werch v. City of

Berlin, 673 F.2d 192 (7%. Cir. 1982). Furthermore, the facts
alleged in his complaint merely described the standard procedure in
which North Carolina officials go about enforcing tax judgements.
See N.C. Gen. Stat. §105-241.1 et seq. As stated in this court’s

previous order, such procedures have been found to be entirely

constitutional. See McKesson Corporation v. Division of Alcoholic

Beverages and Tobacco, 496 U.S. 18, 39-40; Swanson v. State, 335

N.C. 674, 684-92, 441 S.E.2d 537, 543-47 (1994). Plaintiff's
complaint alleged no facts suggesting that defendants deviated from
these procedures in an unconstitutional fashion. Given plaintiff’s
previous failures in state court, it was entirely unreasonable for
him to initiate a similar proceeding here (particularly in light of
the Tax Injunction Act). The court finds that plaintiff should
have known that this action was frivolous.

For the foregoing reasons, the court DENIES defendants’
motions for sanctions pursuant to Fed. R. Civ. P. 11. However, the

court concludes that the award of attorney’s fees pursuant to 42

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U.S.C. §1988 is appropriate. The defendants are directed to submit
their proposed fees by February 28, 2003. Plaintiff will have 10
days thereafter to respond.’

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This / day of February, 2003.

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MALCOLM J. HOWARD,
United States District Judge

At Greenville, NC
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The court is aware that plaintiff has appealed this court’s October 23
ruling. While an appeal usually deprives a district court of jurisdiction over
an action, established precedent clearly permits fee shifting under §1988 even

after a notice of appeal. See White v. New Hampshire Dept. of Employment
Security, 455 U.S. 445, 452-54 (1982); Langham-Hill Petroleum, Inc. v. Southern
Fuels Co., 813 F.2d 1327, 1330-31 (4 Cir. 1987). Similarly, the time

constraints of Fed. R. Civ. P. 59(e) do not apply to fee shifting under §1988.
Arceneaux v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 767 F.2d 1498, 1503
(11%? Cir. 1985).

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